
660 S.E.2d 496 (2008)
STATE of North Carolina
v.
Timothy S. MARTIN.
No. 252P07.
Supreme Court of North Carolina.
March 6, 2008.
Timothy Martin, S., Pro Se.
Chris Z. Sinha, Assistant Attorney General, Peter S. Gilchrist, III, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 29th day of May 2007 in this matter for a writ of certiorari to review the order of the Superior Court, Mecklenburg County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 6th day of March 2008."
